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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION


ANDRE WALLER,

                        Petitioner,

vs.                                           Case No.   2:05-cv-27-FtM-29DNF
                                             Case No.    2:02-cr-72-FtM-29DNF

UNITED STATES OF AMERICA,

                    Respondent.
___________________________________/


                              OPINION AND ORDER

      This   matter   comes    before    the    Court    on   petitioner   Andre

Waller’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or

Correct Sentence By a Person in Federal Custody (Cv. Doc. #1; Cr.

Doc. #265)1 and an Affidavit (Cv. Doc. #2), both filed on January

24, 2005.     The United States filed its Response in Opposition to

Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence,

Pursuant to 28 U.S.C. § 2255 on March 18, 2005.               (Cv. Doc. #8).

                                        I.

      On November 13, 2002, a federal grand jury in Fort Myers,

Florida returned a fourteen-count Superceding Indictment (Cr. Doc.

#37) charging the petitioner Andre Waller (petitioner or Waller)



      1
      The Court will make references to the dockets in the instant
action and in the related criminal case throughout this opinion.
To avoid confusion, the Court will refer to the docket of Waller v.
United States, No. 2-05-cv-27-FtM-29DNF, as “Cv. Doc.”, and will
refer to United States v. Waller, No. 2:02-cr-72-FtM-29DNF, as “Cr.
Doc.”
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with various drug offenses.            Waller entered into a written Plea

Agreement (Cr. Doc. #163) in which he agreed to plead guilty to

Counts Twelve and Fourteen of the Superceding Indictment.                      Count

Twelve charged that Waller possessed with intent to distribute an

unspecified amount of cocaine base, crack cocaine, on December 12,

2001; Count Fourteen charged that Waller possessed with intent to

distribute an unspecified amount of cocaine base, crack cocaine, on

March 15, 2002.     A magistrate judge conducted Waller’s guilty plea

colloquy on March 27, 2003, and the district court accepted the

guilty plea.     (Cr. Docs. #169, #170, #185).              On July 7, 2003, after

granting the government’s motion for a downward departure based

upon   petitioner’s    substantial      assistance,          the   Court   sentenced

Waller   to    concurrent   110   month       terms    of    imprisonment,    to   be

followed by thirty-six months supervised release. (Cr. Doc. #206).

Judgment (Cr. Doc. #210) was filed on July 9, 2005.

       Waller through counsel filed a Notice of Appeal (Cr. Doc.

#212) on July 16, 2003.      On February 19, 2004, the Eleventh Circuit

Court of Appeals dismissed the appeal on the government’s motion

due to a valid appeal waiver provision contained in Waller’s Plea

Agreement.      (Cr. Doc. #255).

       Waller filed this timely § 2255 motion on January 24, 2005.

Read liberally, Waller’s § 2255 Petition sets forth the following

claims: (1) ineffective assistance of counsel for failing to object

to the use of a non-qualifying prior conviction for a career

offender      enhancement   and   to    raise    the    issue      on   appeal;    (2)

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ineffective assistance of counsel for failing to object to the

sentencing court’s consideration of a quantity of cocaine base

which     was   not    involved   in   either   count   of   conviction;   (3)

ineffective assistance of counsel because his attorney promised to

appeal but did not; (4) violation of Fifth Amendment due process

rights for failing to give notice of the charges he faced; (5)

violation of the Sixth Amendment; and (6) lack of jurisdiction by

the trial court.2

                                       II.

      It is well established that sentence-appeal waivers are valid

if made knowingly and voluntarily.           Williams v. United States, 396

F.3d 1340, 1341 (11th Cir. 2005)(citing United States v. Bushert,

997 F.2d 1343, 1350-51 (11th Cir. 1993)), cert. denied, 513 U.S.

1051 (1994).          Here, petitioner’s Plea Agreement contained the

following provision:

      The defendant understands and acknowledges that the
      defendant’s sentence will be determined and imposed in
      conformance with the Comprehensive Crime Control Act of
      1984 and the federal sentencing guidelines. Defendant is
      also aware that a sentence imposed under the sentencing
      guidelines does not provide for parole. Knowing these
      facts, the defendant agrees that this Court has
      jurisdiction and authority to impose any sentence up to
      the statutory maximum set forth for the offense and
      pursuant to the sentencing guidelines and expressly
      waives the right to appeal defendant’s sentence, directly
      or collaterally, on any ground except for an upward
      departure by the sentencing judge, a sentence above the
      statutory maximum, a sentence in violation the law apart

      2
      The last three issues were mentioned in passing at page one
of the type-written Motion (Cv. Doc. #1), and not further addressed
in petitioner’s Memorandum.
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       from the sentencing guidelines provided, however, that if
       the government exercises its right to appeal the sentence
       imposed, as authorized by 18 U.S.C. § 3742(b), the
       defendant is released from this waiver and may appeal the
       sentence as authorized by 18 U.S.C. § 3742(a).

(Cr. Doc. #163, p. 12, ¶ 5).             The magistrate judge who took the

guilty    plea     highlighted      this    waiver    provision   as    part   of

petitioner’s       plea     colloquy,      specifically    questioned     Waller

concerning       the   specifics    of   the    sentence-appeal   waiver,      and

determined that he knew about the waiver provision and had entered

into the waiver agreement knowingly and voluntarily.                   (Cr. Doc.

#244, pp. 9-10).       The Eleventh Circuit has already determined (Cr.

Doc. #255) petitioner’s waiver provision was valid and effective,

and this is the law of the case.           United States v. Jordan, 429 F.3d

1032     (11th    Cir.     2005).        Alternatively,     the   Court    would

independently find that the appeal waiver was clearly knowing and

voluntary under Bushert, 997 F.2d at 1350, and its progeny and

therefore is valid and effective.              United States v. Grinard-Henry,

399 F.3d 1294, 1296 (11th Cir.), cert. denied, 125 S. Ct. 2279

(2005).

       The scope of the waiver includes most of the issues raised by

petitioner.      The Eleventh Circuit has held that “a valid sentence-

appeal waiver, entered into voluntarily and knowingly, pursuant to

the plea agreement, precludes the defendant from attempting to

attack, in a collateral proceeding, the sentence through a claim of

ineffective assistance of counsel during sentencing.”                  Williams,

396 F.3d at 1342.         This precludes petitioner’s first two claims of

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ineffective        assistance    of    counsel.    Additionally,      the   waiver

provision is broad enough to include the Booker3/Blakely4 issue.

United States v. Frye, 402 F.3d 1123, 1129 (11th Cir.), cert.

denied, 125 S. Ct. 2986 (2005); United States v. Rubbo, 396 F.3d

1330, 1335 (11th Cir.), cert. denied, 126 S. Ct. 416 (2005).

Therefore, to the extent the issues (Claims #4 and #5 above) are

liberally construed to raise Booker/Blakely issues, they have been

waived by petitioner.            The wavier provision does not, however,

waive        the   issues   of   the    district   court’s     jurisdiction    or

ineffective assistance of counsel for failing to appeal after

promising to do so.

                                         III.

      The Supreme Court established a two-part test for determining

whether a convicted person is entitled to habeas relief on the

ground that his or her counsel rendered ineffective assistance: (1)

whether counsel’s representation was deficient, i.e., “fell below

an   objective        standard    of    reasonableness”      “under   prevailing

professional norms”; and (2) whether the deficient performance

prejudiced the defendant, i.e., there was a reasonable probability

that, but for counsel’s unprofessional errors, the result of the

proceeding would have been different.              Strickland v. Washington,

466 U.S. 668, 687-88 (1984).             See also Rompilla v. Beard, 125 S.


        3
            United States v. Booker, 543 U.S. 220 (2005).
        4
            Blakely v. Washington, 542 U.S. 296 (2004).
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Ct. 2456, 2462 (2005); Wiggins v. Smith, 123 S. Ct. 2527, 2535

(2003); Williams v. Taylor, 529 U.S. 362 (2000).              A Court must

“judge the reasonableness of counsel’s conduct on the facts of the

particular case, viewed as of the time of counsel’s conduct.”            Roe

v. Flores-Ortega, 528 U.S. 470, 477 (2000)(quoting Strickland, 466

U.S. at 690). This judicial scrutiny is “highly deferential.” Id.

A court must adhere to a strong presumption that counsel’s conduct

falls within the wide range of reasonable professional assistance.

Strickland, 466 U.S. at 689-90. An attorney is not ineffective for

failing to raise or preserve a meritless issue.         Ladd v. Jones, 864

F.2d 108, 109-10 (11th Cir. 1989); United States v. Winfield, 960

F.2d 970, 974 (11th Cir. 1992).       In light of the general principles

and presumptions applicable to ineffective assistance of counsel

claims, the cases in which habeas petitioners can prevail are few

and far between. Chandler v. United States, 218 F.3d 1305, 1313-14

(11th Cir. 2000)(en banc), cert. denied, 531 U.S. 1204 (2001).

      The same deficient performance and prejudice standards apply

to appellate counsel.        Smith v. Robbins, 528 U.S. 259, 285-86

(2000); Roe v. Flores-Ortega, 528 U.S. at 476-77.             If the Court

finds there has been deficient performance, it must examine the

merits of the claim omitted on appeal.        If the omitted claim would

have had a reasonable probability of success on appeal, then the

deficient performance resulted in prejudice.             Joiner v. United

States, 103 F.3d 961, 963 (11th Cir. 1997). Non-meritorious claims

which are not raised on direct appeal do not constitute ineffective

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assistance of counsel.      Diaz v. Sec’y for Dep’t Of Corr., 402 F.3d

1136, 1144-45 (11th Cir.), cert. denied, 126 S. Ct. 803 (2005).

                                     A.

      Petitioner claims his counsel’s performance was deficient

because counsel failed to object when the Court considered a state

armed burglary conviction which had been reduced to trespassing in

determining petitioner qualified as a Career Offender under the

Sentencing    Guidelines.      Petitioner    asserts   that   on   its   face

trespassing is not a qualifying crime of violence, and it should

not have been counted because he was only seventeen years old at

the time.     Petitioner asserts that he had pled “nolo contest” to

charges of burglary with the understanding this would be dropped to

a lesser included offense of trespassing after the state court

determined the nature of the case.         Petitioner asserts he informed

his attorney of these facts, but his attorney failed to investigate

his assertions and refused to challenge this invalid conviction,

saying it would not make a difference.        Because of this, petitioner

asserts, he was erroneously classified as a career offender, which

resulted in a Criminal History Category of VI and base offense

level of 20 instead of a properly scored Criminal History Category

V and a base offense level of 11.              Petitioner also suggests

ineffective assistance of counsel on appeal for failing to present

the issue on appeal.

      As an alternative to finding that this issue is barred by the

valid waiver provision, the Court finds that it is without merit.
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Contrary to petitioner’s factual claim, his attorney did object to

the use of this conviction because it occurred when he was only 17

years old.     (Cr. Doc. #235, pp. 12-13, 14-18, 20).            Therefore,

there was no deficient performance by counsel as to this aspect of

petitioner’s claim.

      While counsel did not challenge the armed burglary conviction,

this was not deficient performance. The Presentence Report clearly

indicated that the offense of conviction was Armed Burglary of a

Dwelling.      While petitioner maintained this was a mistake or

violation of an agreement with state authorities, his conviction of

Armed Burglary of a Dwelling had not been vacated, reversed, or

set-aside in the state court.       It was clearly established law that

a district court “cannot ignore or discount for any purpose a prior

conviction that has not been invalidated in a prior proceeding,

unless there was an unwaived absence of counsel in the proceedings

resulting in that conviction.” United States v. Phillips, 120 F.3d

227, 231 (11th Cir. 1997)(collecting cases).          Thus, counsel could

not challenge the prior conviction on the ground asserted by

petitioner.    Additionally, even if this conviction could have been

challenged, petitioner still had four other convictions which

qualified for career offender status, and only needed two such

convictions.     The Court finds that counsel’s performance was not

deficient and that there was no prejudice to petitioner.

                                     B.



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       Petitioner   also    asserts   that       counsel’s     performance      was

ineffective when he failed to object to the sentencing court’s

consideration of 1.1 grams of cocaine base from a February 6, 2002,

sale to which petitioner had not pled guilty, and failed to

investigate the plea offer to determine if more drugs would be

attributed to him by the government besides those in the specific

counts.    Petitioner asserts that there was a total of .77 grams of

cocaine base involved in the two counts to which he pled guilty,

and that consideration of an additional 1.1 grams to compute his

base offense level violated his Plea Agreement, which triggers a

right to withdraw his guilty plea.               Petitioner asserts that his

base offense level should have been level 16, not level 20.

       As an alternative to finding that this issue is barred by the

valid waiver provision, the Court finds that it is without merit.

Contrary to petitioner’s factual claim, his attorney did object to

the sentencing judge’s consideration of the additional 1.1 grams of

cocaine base.     (Cr. Doc. #235, pp. 5-11).         The Court overruled the

objection and found the quantity properly considered under the

relevant conduct provisions of the Sentencing Guidelines.                 (Id. at

11).    This was fully consistent with petitioner’s Plea Agreement,

which provided that the government had the right to report to the

Court   all   information    concerning     defendant’s        conduct    and   “to

provide relevant factual information, including the totality of

defendant’s    criminal     activities,     if    any,   not    limited   to    the

count(s) to which defendant pleads, . . . .”              (Cr. Doc. #163, p.

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 10, ¶ 3).    Additionally, the magistrate judge informed petitioner

 at   the   guilty   plea   colloquy   that   the   sentencing    judge    would

 consider “the actual conduct in which you engaged.”                   (Cr. Doc.

 #244, p.9).      The Court finds that counsel’s performance was not

 deficient and that there was no prejudice to petitioner, and that

 there is no basis for petitioner to withdraw his guilty plea.

                                       C.

       In   his   Affidavit,   petitioner     asserts   that     his    attorney

 promised that he would appeal his sentence but failed to do so,

 thus constituting ineffective assistance of counsel.              The record

 affirmatively establishes that petitioner is factually incorrect.

 Petitioner’s attorney did file a timely Notice of Appeal, but the

 appeal was dismissed on the government’s motion because of the

 valid waiver provision. Accordingly, counsel’s performance was not

 deficient and this issue has no merit.

                                       IV.

       A district court has the authority to consider a motion which

 challenges the subject-matter jurisdiction of the district court.

 See United States v. Cotton, 535 U.S. 625, 630 (2002)(because

 jurisdiction means the court’s statutory or constitutional power to

 adjudicate a case, “defects in subject-matter jurisdiction require

 correction regardless of whether the error was raised in district

 court.”); United States v. Peter, 310 F.3d 709, 712 (11th Cir.

 2002)(jurisdictional error “can never be waived by parties to


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 litigation.”); Harris v. United States, 149 F.3d 1304, 1308 (11th

 Cir.    1998)(jurisdictional           defects    cannot    be     procedurally

 defaulted).       Subject-matter       jurisdiction      defines   the    court’s

 authority to hear a given type of case.           Alikhani v. United States,

 200 F.3d 732, 734 (11th Cir.)(quoting United States v. Morton, 467

 U.S. 822, 828 (1984)), cert. denied, 531 U.S. 929 (2002).                     The

 Constitution of the United States gives Congress the power to

 create inferior federal courts and determine their jurisdiction.

 U.S.   CONST.   art.   III,   §   1.     Congress   has    conferred     original

 jurisdiction of “all offenses against the laws of the United

 States”   to    the    federal    district     courts.     18    U.S.C.   §3231.

 Additionally, Congress has created district courts in each state,

 including the State of Florida.           Congress has further divided the

 state of Florida into three judicial districts and provided that

 Lee County, Florida will be in the Middle District of Florida and

 that court shall be held inter alia in Fort Myers.               28 U.S.C. § 89.

        The two counts in petitioner’s Superceding Indictment are two

 drug offenses that are against the laws of the United States.                 21

 U.S.C. §§ 841(a)(1), 846.          Congress has the authority to punish

 such conduct under Title 21, United States Code, based upon the

 Commerce Clause.       United States v. Lopez, 459 F.2d 949 (5th Cir.),

 cert. denied, 409 U.S. 878 (1972).             The Commerce Clause authority

 includes the power to criminalize conduct which, although not

 committed while on federal property, has an actual impact on

 interstate commerce.       United States v. Bernard, 47 F.3d 1101, 1102

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 (11th Cir. 1995)(quoting Section 801 of Title 21, united States

 Code).     Consequently, petitioner’s subject-matter jurisdiction

 claim lacks merit.

                                      V.

       To the extent that petitioner’s Fifth and Sixth Amendment

 claims are premised upon United States v. Booker, 543 U.S. 220

 (2005), the Eleventh Circuit has held “that Booker’s constitutional

 rule falls squarely under the category of new rules of criminal

 procedure that do not apply retroactively to § 2255 cases on

 collateral review.”     Varela v. United States, 400 F.3d 864, 867-68

 (11th Cir.)(citing Schriro v. Summerlin, 124 S. Ct. 2519, 2526-27

 (2004)), cert. denied, 126 S. Ct. 312 (2005).             See also United

 States v. Moreno, 421 F.3d 1217, 1220 (11th Cir. 2005).               Since

 petitioner’s case became final prior to Booker, the issues cannot

 be raised in a § 2255 petition and these issues must be dismissed.

       Accordingly, it is now

       ORDERED:

       1.   The Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside,

 and to Correct, Sentence By a Person in Federal Custody (Cv. Doc.

 #1) is DISMISSED as to claims 1, 2, 4, and 5, and is alternatively

 DENIED as to these claims, and is DENIED as to claims 3 and 6 for

 the reasons set forth above.




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       2.   The Clerk of the Court shall enter judgment accordingly

 and close the civil file.       The Clerk shall place a copy of civil

 Judgment in the criminal file.

       DONE AND ORDERED at Fort Myers, Florida, this          16th    day of

 February, 2006.




 Copies:
 Andre Waller
 Counsel of record




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